Case 2:05-cr-20212-SH|\/| Document 26 Filed 06/16/05 Page 1 of 2 Page|D 24

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UNITED STATES DISTRICT COUR'I`
WESTERN DISTRICT OF TENNESSEE 05 JUN 16 pH h; 58
Western Division

E'l-oy_ ;'Z. Di 'I`HOUO

CLEii‘l'-{, U.€`.`. DIST. CT.
-vs- Case No. 2:05cr20212-Ma
WILLIE ROGERS

 

ORDER OF DETENTION PENDING TRIAL
FlNDlNGS
, ln accordance with the Bail Refonn Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DIRECT|ONS REGARD|NG DETENT|ON

WILLIE ROGERS

is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal

WILLIE ROGERS

shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a Court of the
United States or on request of an attorney for the government, the person in charge of the corrections facility shall
deliver the Dcfendant to the United States marshal for the purpose of an appearance in connection with a Court
proceeding

Date; June 16, 2005 %A¢

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

This dochent entered on the docket heat compliance
with ana 55 and/or sam FRC:P on ‘ ‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-202l2 was distributed by faX, mail, or direct printing on
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PDA

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Honorable Samuel Mays
US DISTRICT COURT

